        Case 3:16-cv-00166-VLB Document 222 Filed 10/11/19 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


WILSON RAMOS, As Administrator of           :
the Estate of Jose A. Maldonado, and        :
Individually,                               :       NO. 3:16-cv-166-VLB
                                            :
v.                                          :
                                            :
TOWN OF EAST HARTFORD,                      :
OFFICER JASON KAPLAN,                       :
SERGEANT JAMES LIS, OFFICER                 :
JASON COHEN, and CHIEF SCOTT                :
SANSOM OF THE EAST HARTFORD                 :
POLICE DEPARTMENT                           :

                               PARTIAL JUDGMENT

      This action having come before the Court on plaintiffs’ motion for entry of

partial final judgment under rule 54(b) before the Honorable Vanessa L. Bryant,

United States District Judge; and

      The Court having considered the full record of the case including applicable

principles of law, and having issued an order granting plaintiffs’ motion and finding

no just reason for delay; it is hereby

      ORDERED, ADJUDGED and DECREED that final judgment be and is hereby

entered as to plaintiffs’ Monell claim (the Second Count of Plaintiffs’ Third

Amended Complaint).

      Dated at Hartford, Connecticut, this 11th day of October, 2019.

                                         ROBIN D. TABORA, Clerk

                                         By:/S/ Michael Bozek
                                                Michael Bozek
                                                Deputy Clerk
EOD: 10/11/2019
